Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 1 of 6 Page ID #1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

STACY GRIGGS,                                         )
                                                      )       Case No. 3:15-cv-00960
       Plaintiff,                                     )
                                                      )
v.                                                    )       COMPLAINT
                                                      )
MEDICREDIT, INC.,                                     )
                                                      )       JURY DEMANDED
       Defendant.                                     )


       Now comes the Plaintiff, STACY GRIGGS, by and through her attorneys, and for her

Complaint against the Defendant, MEDICREDIT, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367, and 15

U.S.C. § 1692k(d). This jurisdiction includes supplemental jurisdiction with respect to pendent

state law claims.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.

                                             PARTIES

       4.      Plaintiff is an individual who was at all relevant times residing in Alton, Illinois.

       5.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.
Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 2 of 6 Page ID #2



        6.     At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt allegedly

owed by Plaintiff.

        7.     The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of a consumer to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes.

        8.     On information and belief, Defendant is a corporation of the State of Missouri,

which is licensed to do business in Illinois, and which has its principal place of business in

Columbia, Missouri.

                                   STATEMENTS OF FACTS

        9.     On or about July 17, 2015, Defendant placed a telephone call to Plaintiff in an

attempt to collect the aforementioned alleged debt.

        10.    During said communication, Plaintiff informed the employee, agent and/or

representative of Defendant with whom she spoke that she was represented by a law firm with

respect to the alleged debt and provided her attorneys’ contact information.

        11.    Despite having received notice of Plaintiff’s legal representation, Defendant

persistently placed additional telephone calls to Plaintiff in further attempts to collect the alleged

debt.

        12.    Said telephone calls were placed to Plaintiff by Defendant on dates which include,

but are not limited to, the following (i.e. this list is not intended to be exhaustive; additional calls

were placed by Defendant to Plaintiff on dates other than those listed below):

                           •   July 25, 2015;
                           •   July 27, 2015;

                                                   2
Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 3 of 6 Page ID #3



                             •   July 28, 2015;
                             •   July 30, 2015; and
                             •   July 31, 2015.

       13.     In its attempts to collect the alleged debt as outlined above, Defendant damaged

Plaintiff and violated the FDCPA.

       14.     Plaintiff was previously diagnosed with several medical conditions, including

anxiety and post-traumatic stress disorder.

       15.     As a result of Defendant’s actions as outlined above, Plaintiff has suffered and

continues to suffer stress, aggravation, emotional distress and mental anguish.

       16.     As a result of Defendant’s actions as outlined above, Plaintiff has suffered actual

damages. Specifically, Plaintiff had headaches, lost sleep, and felt very upset after the calls. The

headaches and loss of sleep caused increased irritability and, with the worry of future action by

Defendant, distracted Plaintiff at her employment. Plaintiff’s anxiety prescription, Xanax, is

prescribed “as needed,” and due to stress, Plaintiff was taking Xanax regularly after Defendant’s

telephone calls to curb her anxiety symptoms, dull her headaches, and help her sleep.

       17.     Although Plaintiff did not want to answer phone calls from Defendant after

providing notice of representation, her minor son wanted to continue answering the phone.

Defendant’s incessant phone calls led to shouting arguments between Plaintiff and her son over

the phone ringing regularly unanswered. Plaintiff has experienced significant strain in her

relationship with her son.

                                              COUNT I

       18.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 17 as if reiterated herein.




                                                  3
Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 4 of 6 Page ID #4



       19.      Defendant violated 15 U.S.C. § 1692c(a)(2) by communicating with Plaintiff after

Defendant had been advised that Plaintiff was represented by an attorney with respect to the

alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for Defendant’s

                       violations of the FDCPA, pursuant to 15 U.S.C. §1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate

                                           COUNT II

       20.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 17 as if reiterated herein.

       21.      Defendant violated 15 U.S.C. § 1692d by engaging in conduct the natural

consequence of which was to harass, oppress and/or abuse Plaintiff in connection with the

collection of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);




                                                4
Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 5 of 6 Page ID #5



               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT III

       22.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 17 as if reiterated herein.

       23.     Defendant violated 15 U.S.C. § 1692f by using an unfair or unconscionable means

to attempt to collect the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.




                                                5
Case 3:15-cv-00960-MJR-SCW Document 1 Filed 08/27/15 Page 6 of 6 Page ID #6



                                        JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff prevail on any

of her FDCPA claims in this action.


                                                     RESPECTFULLY SUBMITTED,
                                                     STACY GRIGGS

                                                     By:     /s/ James E. Ford
                                                             James E. Ford
                                                             Attorney for Plaintiff

James E. Ford
Illinois Attorney No. 3127131
Upright Litigation, LLC
1103 Public Square
Benton, IL 62812
Phone: (618) 439-0531
Fax: (618) 435-2730
jamesefordatty@onecliq.net




                                                 6
